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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JANELLE NEWSOME,                                                  CIVIL ACTION
 Plaintiff
                                                                   NO. 19-5590
 v.

 CITY OF PHILADELPHIA,
 Defendant

                                                           ORDER

          AND NOW, this 20th day of August, 2021, upon consideration of Plaintiff’s Motion for

Reconsideration (ECF 24) and Defendant’s Response in Opposition (ECF 26), and for the reasons

given in the accompanying Memorandum, it is hereby ORDERED that Plaintiff’s Motion is

DENIED.



                                                                       BY THE COURT:

                                                                        /s/ MICHAEL M. BAYLSON
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                                                                       MICHAEL M. BAYLSON, U.S.D.J.

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